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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                          March 23, 2021
                           UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


UNITED STATES OF AMERICA,             §
                                      §
VS.                                   §              CIVIL ACTION NO. 7:21-CV-012
                                      §
2.659 ACRES OF LAND, MORE OR LESS, et §
al,                                   §
                                      §
       Defendants.                    §

           NOTICE OF RESCHEDULING OF INITIAL PRETRIAL CONFERENCE

       The Initial Pretrial Conference (previously set for April 7, 2021) is hereby reset for June 9,

2021, at 9:00 a.m. before the Honorable Randy Crane, in the 9th Floor Courtroom, Bentsen Tower,

1701 West Business Highway 83, in McAllen, Texas.

       Counsel for Plaintiff is required to serve a copy of the Order for Conference and Disclosure

of Interested Parties previously entered in this case together with a copy of this Order upon

Defendant or Defendant’s counsel.

        SO ORDERED March 23, 2021, at McAllen, Texas.


                                                   ___________________________________
                                                   Randy Crane
                                                   United States District Judge




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